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                          DECLARATION of ROBERT GILINSKY

       I, Robert Gilinsky, do hereby declare:

                               BACKGROUND/EXPERIENCE

       1.      I am a Task Force Agent (TFO) with the Drug Enforcement Administration

(DEA) and have been since 2022. I have been employed as a Police Officer and Detective at the

Grants Pass Police in Grants Pass, Oregon, since 2017. My current assignment is at the Medford

Resident Office in Oregon. My training and experience includes completion of the DEA basic

course, Advanced Search and Seizure, and hundreds more hours of law enforcement training.

This training included the investigation, detection, and identification of controlled substances. I

have consulted and conversed with several other agents and officers from various local, state,

and federal agencies on various drug cases, including the distribution of heroin, cocaine,

methamphetamine, marijuana, fentanyl, and other controlled substances. As a result of this and

my own experience and training, I am familiar with heroin, cocaine, methamphetamine,

marijuana, fentanyl, and other controlled substances and the methods employed by traffickers of

these substances.

                            PURPOSE OF THIS DECLARATION

       2.      This declaration is submitted in support of a complaint in rem for forfeiture of the

property located at 4400 Foothill Boulevard, Grants Pass, Oregon (the “Subject Property”):

       The Property is a tract of land situated at 4400 Lower River Road Grants Pass, Josephine
       County, Oregon more fully described as approximately a 1-acre parcel located north of
       Foothill Blvd and south of Interstate 5. The east and west side of the property is bordered
       by neighboring properties. The property is primarily forestland. The residence is
       accessed by an ungated driveway, which travels north from Foothill Blvd and wraps in a
       U-shape back towards Foothill Blvd. According to the Josephine County real property tax
       statement, the Property is owned by Joseph Kanuch.
       (hereinafter “Subject Property”)


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     The above photos are from Google Maps and from an investigator’s camera of the
                                   Subject Property

The Subject Property is further described as:

      All of that certain real property, with the tenements, hereditaments and appurtenances
      thereunto belonging or in any way appertaining, situated in Josephine County, State of
      Oregon, described as follows, to-wit:
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       Beginning at a point where the West line of Section 24, Township 36 South, Range 5
       West, of the Willamette Meridian, Josephine County, Oregon, intersects the Northerly
       right of way line of the Josephine County Foothill Boulevard Road; thence South
       62°22'30" East 366.0 feet along said right of way line to the true point of beginning;
       thence Northerly and parallel with said West Section line 115 feet, more or less, to the
       Southerly right of way line of U.S. Interstate Highway No. 5; thence Southeasterly along
       said Southerly right of way line 383 feet, more or less, to a point opposite and 180 feet
       distant from Engineer's centerline Station 297+00 of said Highway No. 5; thence South
       13°00' West along said Southerly right of way line a distance of 170 feet, more or less, to
       the Northerly right of way line of Foothill Boulevard; thence Northwesterly along said
       Northerly right of way line 366.0 feet, to the true point of beginning.

       3.      In this declaration I will demonstrate, based on the evidence I have reviewed, that

there is probable cause to believe, and I do believe that the Subject Property located at 4400

Foothill Boulevard, Grants Pass, Oregon, and outlined above was used or intended to be used to

facilitate the illegal production, conversion, and/or distribution of methamphetamine, in violation

of 21 U.S.C. §§ 841, 846, and 856, and is therefore subject to forfeiture pursuant to 21 U.S.C.

§ 881(a)(7).

       4.      The facts in this declaration come from my personal observations, my training

and experience, and information obtained from other agents, deputies, and officers. This

declaration is for the limited purpose of establishing probable cause. Therefore, I have not set

forth each fact learned during the investigation, but only those facts and circumstances necessary

to establish probable cause.

                        REAL PROPERTY ASSESSMENT REPORT

       5.      The preliminary title report, by Main Street Title Group LLC for 2023 shows that

Joseph Andrew Kanuch is the owner of the Subject Property. The mailing address in law

enforcement databases including Oregon Department of Motor Vehicles (“DMV”) for Joseph

Kanuch (hereinafter Kanuch) is 4400 Foothill Boulevard in Grants Pass, Oregon.


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                               SUMMARY OF THE INVESTIGATION

       6.      In March 2022, while under the direction and control of investigators, a

cooperating defendant (CD) conducted several controlled purchases totaling approximately three

pounds of methamphetamine from Jose Antonio Rios-Beltran (hereinafter Rios)1 in Josephine

County, Oregon. CD told investigators that CD would drive Rios to various drug distributors in

the Josephine County area and acted as a Spanish to English translator for Rios. CD advised that

CD drove Rios to the Subject Property in Grants Pass, Oregon, but remained in the vehicle

because CD was not needed for translating. When investigators later arrested and interviewed

Rios, he admitted traveling to the Subject Property, but denied it being related to drug

distribution. Rios told investigators that he went to the Subject Property to purchase a vehicle

roof rack.

       7.      In October 2022, police conducted a traffic stop on Santiago Rivera (hereinafter

Rivera) in Josephine County, Oregon. Rivera was in possession of approximately 100 grams of

cocaine, 200 grams of heroin, and ten pounds of methamphetamine. Rivera told investigators

that he was bringing the drugs to Kanuch and confirmed Kanuch’s phone number as the number

Rivera used to contact Kanuch. During the interview with Rivera, Rivera admitted to being a

courier for a Mexico based DTO2, where Rivera would pick up drugs from another DTO member

residing in California, to then be transported to Grants Pass, Oregon. Additionally, during the



1
 Jose Antonio RIOS-BELTRAN was a cell head for the RIOS-BELTRAN DTO operating out of
Sacramento, California. The RIOS-BELTRAN DTO was the first source of supply of drugs for
Kanuch in the Grants Pass, Oregon area that investigators discovered.
2
 This was the second known Mexico based DTO supplying Kanuch which was impeded by law
enforcement utilizing traditional investigative techniques. It should be noted that between June 2,
2022, and November 15, 2022, Kanuch was in contact with four different Mexico based phone
numbers with a total of 487 contacts either by voice or text message.
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interview of Rivera, investigators observed multiple text message notifications coming to

Rivera’s phone from Kanuch’s phone.

       8.      Multiple controlled purchases of large amounts of methamphetamine have been

made from the Subject Property, from June of 2022 through April of 2023. During one of the

controlled purchases, CS1 (Confidential Source 1) spoke with Kanuch about getting out of the

drug dealing business, but Kanuch said he still had to pay the mortgage.

       9.      Kanuch was subject to an Oregon State wiretap case where numerous drug deals

were made using the telephone between September 15, 2023, and November 12, 2023. The drug

deals that Kanuch made were done at the Subject Property and involved the delivery of

methamphetamine from the residence.

       10.     Investigators were able to successfully monitor Kanuch’s phone line and location

pings, during a re-supply of drugs. Location pings are geographical locations of a corresponding

telephone. In this case, the location pings were for phone number used by Kanuch. On October

21, 2023, and into the early morning of October 22, 2023, Kanuch drove down to the Stockton,

California area, where Stockton DEA agents observed Kanuch doing a transaction in the In-N-

Out parking lot. Kanuch returned to the Subject Property after the drug transaction in Stockton.

       11.     During one of the telephone calls involved in the wiretap case that occurred on

October 22, 2023, at approximately 1523 hours, Kanuch spoke with an unknown female and

explained how he needed to get caught up on all of his bills, and that he needed to come up with

$3,400 for his house payment. Kanuch said he should not have let it get to that point, since his

payments were only $349 per month. This conversation was conducted directly after the re-

supply of drugs in Stockton, CA.



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       12.     During another phone call on October 22, 2023, at approximately 1731 hours,

Kanuch spoke with a different unidentified female, where Kanuch told the female that he has

been “Bombarded”, since he just got back into town and was trying to take care of everyone.

                          EXECUTION OF SEARCH WARRANTS

       13.     On November 14, 2023, law enforcement served Josephine County State of

Oregon search warrants issued by the Honorable Judge Robert Bain at the Subject Property and

at other locations in the region. Upon executing the warrant at the Subject Property, law

enforcement seized approximately $23,980 in US Currency, approximately 516.7 grams of

suspected methamphetamine, five firearms, and digital scales.

       14.     Law enforcement interviewed several individuals that day, including Joseph

Kanuch, the owner of Subject Property. Kanuch admitted to selling drugs numerous times and

told investigators that he sells pounds of methamphetamine, but typically likes to sell ounces

because he makes more money that way. Specifically, Kanuch mentioned John Wilder, who was

traffic stopped after leaving Kanuch’s residence and found to have methamphetamine on him.

Kanuch said he sold Wilder the methamphetamine while Wilder was at Subject Property.

Kanuch was lodged at the Josephine County Jail on charges of Racketeering, Money Laundering,

Delivery of Methamphetamine, Possession of Methamphetamine, Felony Possession of

Marijuana, and Felon in Possession of a Firearm x 5.

                                         CONCLUSION

       15.     The evidence in this declaration provides probable cause to believe, and I do

believe that the Subject Property was used or intended to be used to commit or to facilitate the

commission of transactions in violation of 21 U.S.C. §§ 841, 846, and 856, and is therefore

subject to forfeiture pursuant to 21 U.S.C. § 881(a)(7).

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       I declare under penalty of perjury that the foregoing is true and correct pursuant to 28

U.S.C. § 1746.


                                             Executed this 19th day of December 2023.


                                             _s/ Robert Gilinsky____________
                                             Robert Gilinsky
                                             TFO
                                             Drug Enforcement Administration




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